JAHNA LINDEMUTH
ATTORNEY GENERAL
Matthias R. Cicotte
Assistant Attorney General
1031 W. 4th Ave., Suite 200
Anchorage, AK 99501
Telephone: (907) 269-5190
Attorney for Defendants

                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF ALASKA

JOSHUA JAMES BRADSHAW,                     )
                                           )
                       Plaintiff,          )
                                           )
                vs.                        )      Case No. 3:16-CV-00223-RRB
                                           )
MATTHEW NYHOLM, WILLIAM                    )
LAPINSKAS, and STATE OF                    )
ALASKA, DOC,                               )
                                           )
                       Defendants.         )
                                           )

                                         ANSWER

       Defendants Matthew Nyholm, William Lapinskas, and the State of Alaska, Dept.

of Corrections (“DOC”), by and through Assistant Attorney General Matthias Cicotte,

hereby answer Plaintiff Joshua James Bradshaw’s complaint as follows:

       1.      Admit that plaintiff’s lawsuit arises under 42 U.S.C. § 1983. Deny all other

allegations in this paragraph.

       2.      Admit that plaintiff seeks injunctive relief against defendants. Deny that

plaintiff is entitled to said relief.

       3.      Deny.



         Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 1 of 13
       4.      Admit that plaintiff seeks said relief in this case. Deny that plaintiff is

entitled to said relief.

       5.      Deny.

       6.      Deny.

       7.      Deny.

       8.      Deny.

       9.      Admit.

       10.     Admit.

       11.     Admit.

       12.     Admit.

       13.     Admit.

       14.     Admit that DOC administers the State of Alaska’s corrections programs,

and that Mr. Bradshaw was in DOC’s custody at all times relevant. It is unclear precisely

what is meant by the allegation that DOC was “responsible for [Bradshaw’s] care and

safety,” and that allegation is therefore denied as vague and ambiguous.

       15.     Admit that Bradshaw was transferred to Spring Creek Correctional Center

in September 2015. However, that transfer appears to have occurred on September 12,

2015. Defendants are without information sufficient to form a belief as to the remaining

allegations in this paragraph, and therefore deny said allegations.

       16.     Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.


Bradshaw v. Nyholm, et al.                                      Case No. 3:16-cv-00223-RRB
Answer                                                                          Page 2 of 13

         Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 2 of 13
       17.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       18.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       19.    Admit.

       20.    Deny.

       21.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       22.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       23.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       24.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       25.    Admit that Bradshaw requested protective custody on or about September

22, 2015. Defendants are without information sufficient to form a belief as to the

remaining allegations in this paragraph, and therefore deny said allegations.

       26.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       27.    Admit that there are several possible placements available for prisoners at

SCCC. Deny that this paragraph describes all possible placements.


Bradshaw v. Nyholm, et al.                                   Case No. 3:16-cv-00223-RRB
Answer                                                                       Page 3 of 13

        Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 3 of 13
       28.     Admit that plaintiff was placed in protective custody on or about September

22, 2015. Defendants are without information sufficient to form a belief as to the

remaining allegations in this paragraph, and therefore deny said allegations.

       29.     Admit that this was SCCC’s policy for entry into to the Protective Custody

General Population (“PC-GP”) module.

       30.     Admit.

       31.     Admit that Bradshaw was admitted to the PC-GP module, and that Officer

Nyholm recommended that placement. Defendants are without information sufficient to

form a belief as to the remaining allegations in this paragraph, and therefore deny said

allegations.

       32.     Admit.

       33.     Admit.

       34.     Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       35.     Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       36.     Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       37.     Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.




Bradshaw v. Nyholm, et al.                                   Case No. 3:16-cv-00223-RRB
Answer                                                                       Page 4 of 13

        Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 4 of 13
       38.    Admit that Officer Nyholm met with Bradshaw on March 31, 2016 to

discuss his placement upon termination of his disciplinary segregation. Defendants are

without information sufficient to form a belief as to the remaining allegations in this

paragraph, and therefore deny said allegations.

       39.    Admit that Officer Nyholm told plaintiff that placement in the PC-GP

module is a privilege. Admit that Nyholm told Bradshaw that his options were to go into

general population or to enter protective custody. Deny that Officer Nyholm told

Bradshaw that he would never be eligible for placement in the PC-GP module. Deny that

Officer Nyholm told Bradshaw that he would be “fine” in General Population.

Defendants are without information sufficient to form a belief as to the remaining

allegations in this paragraph, and therefore deny said allegations.

       40.    Deny.

       41.    Deny.

       42.    Admit that Supt. Lapinskas approved Bradshaw’s request for placement in

General Population. All other allegations are denied.

       43.    Deny.

       44.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       45.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       46.    Deny.


Bradshaw v. Nyholm, et al.                                   Case No. 3:16-cv-00223-RRB
Answer                                                                       Page 5 of 13

        Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 5 of 13
       47.    Deny.

       48.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       49.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       50.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       51.    Deny.

       52.    Admit that Officer Nyholm recommended that Bradshaw’s placement in

PC-GP be denied. All other allegations in this paragraph are denied.

       53.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       54.    Admit that Bradshaw was placed in PC-GP on or about October 21, 2016.

Defendants are without information sufficient to form a belief as to the remaining

allegations in this paragraph, and therefore deny said allegations.

       55.    Admit.

       56.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       57.    Defendants hereby incorporate their answers to paragraphs 1 through 56 of

the Complaint.

       58.    This paragraph states legal arguments not requiring an answer.


Bradshaw v. Nyholm, et al.                                   Case No. 3:16-cv-00223-RRB
Answer                                                                       Page 6 of 13

        Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 6 of 13
       59.    This paragraph states legal arguments not requiring an answer.

       60.    This paragraph states legal arguments not requiring an answer. Moreover,

the allegations are vague and ambiguous.

       61.    Admit.

       62.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations. Moreover, the

allegations are vague and ambiguous.

       63.    This paragraph states legal arguments not requiring an answer. Moreover,

the allegations are vague and ambiguous.

       64.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       65.    Deny.

       66.    Deny.

       67.    Deny.

       68.    Deny.

       69.    Deny.

       70.    Defendants hereby incorporate their answers to paragraphs 1 through 69 of

the Complaint.

       71.    Deny.

       72.    Deny.

       73.    Deny.


Bradshaw v. Nyholm, et al.                                   Case No. 3:16-cv-00223-RRB
Answer                                                                       Page 7 of 13

        Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 7 of 13
       74.    Deny.

       75.    Deny.

       76.    Deny.

       77.    Deny.

       78.    Deny.

       79.    Deny.

       80.    Deny.

       81.    Defendants hereby incorporate their answers to paragraphs 1 through 79 of

the Complaint.

       82.    Admit.

       83.    This paragraph contains legal arguments not requiring an answer.

       84.    Admit.

       85.    This paragraph contains legal arguments not requiring an answer.

       86.    This paragraph contains legal arguments not requiring an answer.

Moreover, defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       87.    Admit.

       88.    Admit.

       89.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       90.    Deny.


Bradshaw v. Nyholm, et al.                                   Case No. 3:16-cv-00223-RRB
Answer                                                                       Page 8 of 13

        Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 8 of 13
       91.    Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       92.    Deny.

       93.    Deny.

       94.    Defendants hereby incorporate their answers to paragraphs 1-93 of the

complaint.

       95.    Admit that the Alaska Constitution forbids cruel and unusual punishment.

The remaining allegations of this paragraph constitute a legal argument not requiring an

answer.

       96.    Deny.

       97.    Deny.

       98.    Deny.

       99.    Deny.

       100.   Deny.

       101.   Defendants hereby incorporate their answers to paragraphs 1-100 of the

complaint.

       102.   Deny.

       103.   Deny.

       104.   Deny.

       105.   Deny.

       106.   Deny.


Bradshaw v. Nyholm, et al.                                   Case No. 3:16-cv-00223-RRB
Answer                                                                       Page 9 of 13

          Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 9 of 13
       107.   Defendants hereby incorporate their answers to paragraphs 1-106 of the

complaint.

       108.   Admit that the Alaska Constitution prohibits deprivations of liberty or

property by state officials without due process of law. All other allegations in this

paragraph constitute legal arguments not requiring an answer, and are moreover too

vague and ambiguous to permit an answer.

       109.   Deny.

       110.   Deny.

       111.   Deny.

       112.   Deny.

       113.   Defendants hereby incorporate their answers to paragraphs 1-112 of the

complaint.

       114.   This paragraph contains legal arguments not requiring an answer.

       115.   Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       116.   Deny.

       117.   Deny.

       118.   Defendants are without information sufficient to form a belief as to the

allegations in this paragraph, and therefore deny said allegations.

       119.   Deny.

       120.   Deny.


Bradshaw v. Nyholm, et al.                                    Case No. 3:16-cv-00223-RRB
Answer                                                                       Page 10 of 13

       Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 10 of 13
       121.   Deny.

       122.   Deny.

       123.   Deny.

       124.   Deny.

       125.   Deny.

       126.   Deny.

       127.   Defendants hereby incorporate their answers to paragraphs 1-126 of the

complaint.

       128.   This paragraph contains legal arguments not requiring an answer.

       129.   Admit that Bradshaw had informed Nyholm of certain threats against him.

However, the phrase “the threats against him” is sufficiently vague that it is not clear

whether it includes threats of which Nyholm was not informed. Insofar as it does, the

allegation is denied.

       130.   The allegations in this paragraph are denied as vague and ambiguous.

       131.   The allegations in this paragraph are denied as vague and ambiguous.

       132.   Deny.

       133.   Deny.

       134.   Deny.




Bradshaw v. Nyholm, et al.                                   Case No. 3:16-cv-00223-RRB
Answer                                                                      Page 11 of 13

       Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 11 of 13
                                AFFIRMATIVE DEFENSES

         A.     Plaintiff has failed to state a claim upon which relief may be granted.

         B.     Defendants did not personally participate in the alleged constitutional

violations.

         C.     Defendants have qualified immunity to suit.

         D.     Defendants’ actions had a legitimate penological purpose.

         E.     Damages are not available for claims arising under the Alaska Constitution.

         F.     The injunctive relief sought by plaintiff is prohibited by statute.

         G.     The injunctive relief sought by plaintiff is prohibited by the rules of this

court.

         H.     Plaintiff failed to exhaust his administrative remedies.

         I.     All damages are due to plaintiff’s own conduct.

         J.     All damages are due to the conduct of a non-party.

         K.     The relief sought by Plaintiff is contrary to public policy.

         L.     Defendants reserve the right to amend this answer to state any additional

affirmative defenses which arise during the course of this litigation.

                               REQUEST FOR JURY TRIAL

         Defendants hereby request a trial by jury.

         WHEREFORE, Defendants asks that Plaintiff take nothing by way of his

complaint and that they be awarded their costs and attorney fees incurred in defending

this action.


Bradshaw v. Nyholm, et al.                                      Case No. 3:16-cv-00223-RRB
Answer                                                                         Page 12 of 13

         Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 12 of 13
        Dated this 11th day of December, 2017.

                                                 JAHNA LINDEMUTH
                                                 ATTORNEY GENERAL

                                                 By: s/ Matthias Cicotte
                                                    Assistant Attorney General
                                                    State of Alaska, Department of Law
                                                    Criminal Division Central Office
                                                    1031 W. 4th Ave., Suite 200
                                                    Anchorage, AK 99501
                                                    Telephone: 269-5190
                                                    Email: matthias.cicotte@alaska.gov
                                                    AK Bar No. 0811065
Certificate of Service
I hereby certify that on December 11, 2017, a true and correct copy of the
foregoing was served on:

Joshua James Bradshaw, #392304
Spring Creek Correctional Complex
3600 Bette Cato Rd.
Seward, AK 99664

s/Cassidy White
Law Office Assistant II




Bradshaw v. Nyholm, et al.                                            Case No. 3:16-cv-00223-RRB
Answer                                                                               Page 13 of 13

        Case 3:16-cv-00223-RRB Document 39 Filed 12/11/17 Page 13 of 13
